 

Case 5:12-cv-10753-JCO-DRG ECF No. 1, PagelD.1 Filed 02/20/12 Page 1 of 9

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF MICHIGAN

UNITED STATES OF AMERICA § Claim No: 2000A12199/2000A13742
§

VS. §
§

Ann Hagadone aka Ann Marie Delgreco

 

COMPLAINT

 

 

 

TO THE HONORABLE UNITED STATES DISTRICT COURT JUDGE:

The United States of America, plaintiff, alleges that:

Jurisdiction

1. This Court has jurisdiction over the subject matter of this action pursuant to Article II,

Section 2, U.S. Constitution and 28 U.S.C. § 1345.
Venue

2. The defendant is a resident Oakland County, Michigan within the jurisdiction of this

Court and may be served with service of process at 2290 Jones, Waterford, Michigan 48327.
The Debt
First Cause of Action - Claim Number: 2000A12199

3. The debt owed the USA is as follows:

A. Current Principal (after application of $1,090.27
all prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $1,427.06
Accrued Interest

C. Administrative Fee, Costs, Penalties $2.65

D. Attorneys fees $0.00

Total Owed - Claim Number 2000A12199 $2,519.98
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Second Cause of Action - Claim Number: 2000413742

4, The debt owed the USA is as follows:

A. Current Principal (after application of $1,095.81
all prior payments, credits, and offsets)

B. Current Capitalized Interest Balance and $1,434.28
Accrued Interest

C. Administrative Fee, Costs, Penalties $2.64

D. Attorneys fees $0.00

Total Owed - Claim Number 2000A13742 $2,532.73

TOTAL OWED (Claim Numbers 2000A12199 and 2000A13742) $5,052.71

The Certificate of Indebtedness, attached as Exhibit "A" and "B", show the total owed
excluding attorney's fees and CIF charges. The principal balance and the interest balance shown
on the respective Certificates of Indebtedness, are correct as of the date of the Certificates of
Indebtedness after application of all prior payments, credits, and offsets. Prejudgment interest
accrues at the rate of 8.000% per annum or $0.24 per day on Claim Number 2000A12199 and
8.000% per annum or $0.24 per day on Claim Number 2000A13742.

Failure to Pay

5. Demand has been made upon the defendant for payment of the indebtedness, and the
defendant has neglected and refused to pay the same.

WHEREFORE, USA prays for judgment:

A. For the sums set forth in paragraph 3 and 4 above, plus prejudgment interest

through the date of judgment, all administrative costs allowed by law, and post-judgment interest

pursuant to 28 U.S.C. § 1961 that interest on the judgment be at the legal rate until paid in full;

B. For attorneys’ fees to the extent allowed by law; and,

C. For such other relief which the Court deems proper.
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Respectfully submitted,

By: s/Charles J. Holzman (P35625)
Holzman Corkery, PLLC
Attorneys for Plaintiff
Tamara Pearson (P56265)
28366 Franklin Road
Southfield, Michigan 48034
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U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Ann M. Hagadone
75 N Lynn
Waterford, MI 48328-

SSN:

I certify that Department of Education records show that the borrower named above is indebted to
the United States in the amount stated below plus additional interest from 6/28/00.

On or about 12/28/90, the borrower executed promissory note(s) to secure loan(s) of $1,300.00 from
Manufacturers Bank at 8.00 percent interest per annum. This loan obligation was guaranteed by
Michigan Higher Education Assistance Authority and then reinsured by the Department of Education
under loan guaranty programs authorized under Title IV-B of the Higher Education Act of 1965, as
amended, 20 U.S.C. 1071 et seq. (34 CFR. Part 682). The holder demanded payments according to
the terms of the note(s), and credited $41.44 payments to the outstanding principle owed on the
loan(s). The borrower defaulted on the obligation on 1/29/92 and the holder filed a claim on the
guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $1,258.56 to the holder. The
guarantor was then reimbursed for that claim payment by the Department under its reinsurance
agreement. The guarantor attempted to collect the debt from the borrower. The guarantor was unable -
to collect the full amount due, and on 1/21/96 assigned its right and title to the loan(s) to the
Department.

Since assignment of the loan, the Department has received a total of $192.69 in payments from all
sources, including Treasury Department offsets, if any. After application of these payments, the
borrower now owes the United States the following:

Principal: ; . $1,095.81
Interest: $414.21
Administrative/Collection Cost $2.64
Late Fees: ; $0.00
Total debt as of 6/28/00: $1,512.66

Interest accrues on the principal shown here at the rate of $0.24 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed on:_~) | LL [ OO ne Had Bape

Title: Loan Analyst

 

Branch: Litigation

 
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U.S. DEPARTMENT OF EDUCATION
SAN FRANCISCO, CALIFORNIA

CERTIFICATE OF INDEBTEDNESS

Ann M. Hagadone
75 N Lynn
Waterford, MI 48328-

SSN:

I certify that Department of Education records show that the borrower named above is indebted to
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On or about 12/28/90, the borrower executed promissory note(s) to secure loan(s) of $1,300.00 from
Manufacturers Bank at 8.00 percent interest per annum. This loan obligation was guaranteed by
Michigan Higher Education Assistance Authority and then reinsured by the Department of Education
under loan guaranty programs authorized under Title IV-B of the Higher Education Act of 1965, as
amended, 20 U.S.C. 1071 et seq. (34 CFR. Part 682). The holder demanded payments according to
the terms of the note(s), and credited $41.43 payments to the outstanding principle owed on the
loan(s). The borrower defaulted on the obligation on 1/29/92 and the holder filed a claim on the
guarantee.

Due to this default, the guaranty agency paid a claim in the amount of $1,258.57 to the holder. The
guarantor was then reimbursed for that claim payment by the Department under its reinsurance
agreement. The guarantor attempted to collect the debt from the borrower. The guarantor was unable
to collect the full amount due, and on 1/21/96 assigned its right and title to the loan(s) to the
Department.

Since assignment of the loan, the Department has received a total of $192.68 in payments from all
sources, including Treasury Department offsets, if any. After application of these payments, the
borrower now owes the United States the following:

Principal: $1,090.27
Interest: . $412.12
Administrative/Collection Cost $2.65
Late Fees: $0.00
Total debt as of 6/28/00: $1,505.04

Interest accrues on the principal shown here at the rate of $0.24 per day.

Pursuant to 28 U.S.C. § 1746(2), I certify under penalty of perjury that the foregoing is true and correct.

Executed on: // { Co ame ah tuan Nims)

Title: Loan kmalyst

 

Branch: Litigation

 
 
  
   
   
    

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Application and Promissory Note for a Guaranteed Student Le

WARNING: Any person who knowingly makes a false statement or misrepresentation on this form is subject to penalties .
Criminal Code and 20 USC 1097. 5-4 oy . AG- X-000026-08

 

 
 

 

    
  

     

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

   
 

 

 
     

 

 

  

 

  

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Promissory Note for a Guaranteed Student Loan

I. Promise To Pay. |, the undersigned borrower promise to pay you or your order when
this note becomes due a sum certain equal to the loan amount | have requested in Section |,
Item 10 of this Application or any lesser amount which will ba disclosed to me in the Notice of
Loan Guerantea and Disclosure Statement or the amount advanced to me, plus interest and
any other charges which may become due as provided in Paragraph Vi. My signature
certifies that | have raad, understood and agreed to the conditions and authorizations stated
in the "Borrower Certification” printed on the raverse side and the legally required
Information highlighted In the application booklet.

 

   
 
   
  
    
 
   

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Case 5:12-cv-10753-JCO-DRG ECF No.1, PagelD.7 Filed 02/20/12 Page 7 of 9

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THAT THis IS A TRUE i EXACT COPY

 

  
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The undersigned does hereby sell, assign,
transfer, and set over unto the Michigan
Department of ‘Education, its interest in
this note.

MANUFACTURERS BANK
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AUTHORIZED SIGNATURE J

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